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8
          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                                 CALIFORNIA
10

11                                                       Case Number: 2:17-cr-0023 TLN
     THE UNITED STAES OF AMERICA
12                                                       STIPULATION AND [PROPOSED]
     V.                                                  ORDER REGARDING CONDITIONS
13                                                       OF PRETRIAL RELEASE
     CURTIS PHILLIPS
14                                                       DATE: N/A
                                                         TIME: N/A
15                                                       DEPT: Hon. Edmund F. Brennan
16

17
               In the matter at bar Defendant seeks to alter the Court's previously issued Pretrial Release
18
     Order issued by the Hon. Edmund F. Brennan on January 30, 2017.
19
               I have spoken with Mr. Phillips' Pretrial Services Officer Ms. Ali Mirgain and she has
20   informed me that she feels that a program of medical or psychiatric treatment, including
21   treatment for drug or alcohol dependency is appropriate. Further, both she and AUSA Jason Hitt
     agree that such a term should be added to Mr. Phillips' Special Conditions of Release as
22
     Condition #1. All other terms and conditions of Mr. Phillips' pretrial release are to remain in
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     effect.
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     All other orders to remain unchanged.
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            IT IS THERFORE STIPULATED:
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4           Mr. Phillips' Special Conditions of Release be amended and a new Amended Special
     Conditions of Release be ordered that reads as follows:
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6
                   SECOND AMENDED SPECIAL CONDITIONS OF RELEASE
7
                                                               Re: Phillips, Curtis
8                                                              No.: 2:17-CR-00023
                                                               Date: March 28, 2017
9

10
        1. You must participate in a program of medical or psychiatric treatment, including
11         treatment for drug or alcohol dependency, as approved by the pretrial services
           officer. You must pay all or part of the costs of the counseling services based upon
12         your ability to pay, as determined by the pretrial services officer;

13
        2. You must report to and comply with the rules and regulations of the Pretrial Services
           Agency;
14      3. You must report in person to the Pretrial Services Agency on the first working day
           following your release from custody;
15
        4. You must reside at a location approved by the pretrial services officer and not change
16         your residence without the prior approval of the pretrial services officer;
        5. You must cooperate in the collection of a DNA sample;
17
        6. You must restrict your travel to the Eastern District of California unless otherwise
18         approved in advance by the pretrial services officer;
19      7. You must surrender your passport to the Clerk, U. S. District Court, and obtain no
           passport during the pendency of this case;
20      8. You must not possess, have in your residence, or have access to a firearm/ammunition,
           destructive device, or other dangerous weapon; additionally, you must provide written
21
           proof of divestment of all firearms/ammunition currently under your control;
22      9. You must refrain from the excessive use of alcohol or any use of a narcotic drug or other
           controlled substance without a prescription by a licensed medical practitioner; and you
23         must notify Pretrial Services immediately of any prescribed medication(s). However,
           medicinal marijuana prescribed and/or recommended may not be used;
24
        10. You must submit to drug and/or alcohol testing as approved by the pretrial services
25          officer. You must pay all or part of the costs of the testing services based upon your
            ability to pay, as determined by the pretrial services officer;
                                                     2
              Case 2:17-cr-00023-DAD Document 68 Filed 03/29/18 Page 3 of 5


        11. You must not associate or have any contact with the co-defendants in this case unless in
1           the presence of counsel or otherwise approved in advance by the pretrial services officer;
2       12. You must report any contact with law enforcement to your pretrial services officer within
            24 hours; and,
3
        13. You must not financially encumber the properties located at 35 Marathon Court,
4           Sacramento, and 212 Cookingham Way, Sacramento, during the pendency of the criminal
            case.
5

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7
     be substituted in their place. All other orders to remain unchanged.

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9
     Dated: March 28, 2018
10   McGregor Scott
     United Sates Attorney
11
     _______/S/_________
12
     Jason Hitt
     ASSISTANT UNITED STATES ATTORNEY
13

14   Dated: March 28, 2018
     OLAF W. HEDBERG
15
     ______/S/__________
16   Olaf W. Hedberg
     ATTORNEY FOR CURTIS PHILLIPS
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               Case 2:17-cr-00023-DAD Document 68 Filed 03/29/18 Page 4 of 5



1                                                 ORDER

2
             Mr. Phillips' Special Conditions of Release are amended and a new Amended Special
3
     Conditions of Release is ordered that reads as follows:
4

5                       AMENDED SPECIAL CONDITIONS OF RELEASE
6

7                                                                Re: Phillips, Curtis
                                                                 No.: 2:17-CR-00041-2
8
                                                                 Date: March 28, 2018
9

10   1.      You must participate in a program of medical or psychiatric treatment, including
             treatment for drug or alcohol dependency, as approved by the pretrial services
11           officer. You must pay all or part of the costs of the counseling services based upon
             your ability to pay, as determined by the pretrial services officer;
12
          2. You must report to and comply with the rules and regulations of the Pretrial Services
13           Agency;
          3. You must report in person to the Pretrial Services Agency on the first working day
14           following your release from custody;
15        4. You must reside at a location approved by the pretrial services officer and not change
             your residence without the prior approval of the pretrial services officer;
16
          5. You must cooperate in the collection of a DNA sample;
17        6. You must restrict your travel to the Eastern District of California unless otherwise
             approved in advance by the pretrial services officer;
18
          7. You must surrender your passport to the Clerk, U. S. District Court, and obtain no
19           passport during the pendency of this case;
          8. You must not possess, have in your residence, or have access to a firearm/ammunition,
20
             destructive device, or other dangerous weapon; additionally, you must provide written
             proof of divestment of all firearms/ammunition currently under your control;
21
          9. You must refrain from the excessive use of alcohol or any use of a narcotic drug or other
22           controlled substance without a prescription by a licensed medical practitioner; and you
             must notify Pretrial Services immediately of any prescribed medication(s). However,
23           medicinal marijuana prescribed and/or recommended may not be used;
24        10. You must submit to drug and/or alcohol testing as approved by the pretrial services
              officer. You must pay all or part of the costs of the testing services based upon your
25            ability to pay, as determined by the pretrial services officer;

                                                     4
              Case 2:17-cr-00023-DAD Document 68 Filed 03/29/18 Page 5 of 5


        11. You must not associate or have any contact with the co-defendants in this case unless in
1           the presence of counsel or otherwise approved in advance by the pretrial services officer;
2       12. You must report any contact with law enforcement to your pretrial services officer within
            24 hours; and,
3
        13. You must not financially encumber the properties located at 35 Marathon Court,
4           Sacramento, and 212 Cookingham Way, Sacramento, during the pendency of the criminal
            case.
5
     be substituted in their place. All other orders to remain unchanged.
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7
     Dated: March 29, 2018.
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